       Case 1:25-cv-00239-LLA             Document 43-2      Filed 02/14/25      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

National Council of Nonprofits, et al.,

                              Plaintiffs,

                       v.                                   Civil Action No. 1:25-cv-239 (LLA)

Office of Management and Budget, et al.,

                              Defendants.


   [PROPOSED] ORDER GRANTING MOTION OF AMERICAN CENTER FOR LAW
          AND JUSTICE FOR LEAVE TO FILE AMICUS CURIAE BRIEF

        Before the Court is the consented-to motion of the American Center for Law and Justice

for leave to file an amicus curiae brief in support of the Defendants in opposition to the Plaintiffs’

Motion for a Preliminary Injunction. The Court GRANTS the motion. The amicus curiae brief that

accompanied the motion will be filed in the docket of this case.

SO ORDERED

Dated: _________
                                                              ______________________________
                                                                         Hon. Loren L. AliKhan
                                                                             U.S. District Judge
